893 F.2d 57
    Regis Ann GOULD, as Parent Guardian and next of friend ofAaron Russell Gould and Adrienne Marie Gould;  Regis AnnGould, as Special Administrator of the Estate of GaryFrancis Gould;  Regis Ann Gould, Plaintiffs-Appellants,v.U.S. DEPARTMENT OF HEALTH &amp; HUMAN SERVICES;  Public HealthService, Defendants-Appellees.
    No. 88-3091.
    United States Court of Appeals,Fourth Circuit.
    Dec. 26, 1989.
    
      1
      Joseph Cornelius Ruddy, Jr.  (Law Offices, Joseph C. Ruddy, Jr., Hyattsville, Md., on brief), for plaintiffs-appellants.
    
    
      2
      Sally Kraft Trebbe (Litigation Branch, Business and Administrative Law Div., Dept. of Health and Human Services, Breckinridge L. Willcox, U.S. Atty., Washington, D.C., Juliet Ann Eurich, Asst. U.S. Atty., Baltimore, Md., on brief), for defendants-appellees.
    
    
      3
      ON PETITION FOR REHEARING WITH SUGGESTION FOR REHEARING IN BANC
    
    
      4
      Prior report:  884 F.2d 785.
    
    
      5
      The appellees' petition for rehearing and suggestion for rehearing in banc were submitted to the Court.  A majority of judges having voted in a requested poll of the Court to grant rehearing in banc,
    
    
      6
      IT IS ORDERED that the rehearing in banc is granted.
    
    
      7
      IT IS FURTHER ORDERED that this case shall be calendared for argument at the February 1990 session of Court.  Within ten days of the date of this order five additional copies of appellant's briefs and five additional copies of appellees briefs shall be filed and appellees will file nine additional copies of the joint appendix.
    
    